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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                         )
                                                  )
       Plaintiff,                                 )
                                                  )
vs.                                               )   No. 04-cr-40014-003 JPG
                                                  )
JOHN L. TOLLIVER,                                 )
                                                  )
       Defendant.                                 )

                                MEMORANDUM AND ORDER

       This matter comes before the Court on defendant John Tolliver’s pro se motion for a

reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States

Sentencing Guideline Manual (“U.S.S.G.”) § 1B1.10 (Doc. 213). The Court appointed counsel

for Tolliver, and counsel has moved to withdraw on the basis that she can make no non-frivolous

arguments in support of the defendant’s request (Doc. 230). See Anders v. California, 386 U.S.

738, 744 (1967). Tolliver has responded (Doc. 234) and has filed a motion to amend his motion

(Doc. 232). In both filings, he advances the argument that the Court erred in failing to apply the

safety valve when calculating his sentence. See 18 U.S.C. § 3553(f). In his motion to amend, he

essentially concedes that he is ineligible for a reduction pursuant to § 3582(c)(2) unless the

safety valve applied.

       As a preliminary matter, the Court found at sentencing that the safety valve did not apply

in Tolliver’s case. It did this because Tolliver did not satisfy the condition in 18 U.S.C. §

3553(f)(5) and U.S.S.G. § 5C1.2(a)(5) regarding cooperation with the government. Tolliver’s

recent safety valve argument that seeks to vacate, set aside or correct his sentence should have

been raised in his direct appeal or in a motion pursuant to 28 U.S.C. § 2255. The Court has no

jurisdiction to consider such arguments in these proceedings, which are solely concerned with
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retroactive changes to the sentencing guidelines. The Court therefore will deny his motion for

leave to amend his reduction motion (Doc. 232). The Court now turns to the merits of Tolliver’s

reduction motion.

       Tolliver was convicted by a jury of one count of conspiracy to possess with intent to

distribute 50 grams or more of crack cocaine. At sentencing, the Court found by a

preponderance of the evidence that Tolliver’s relevant conduct was at least 50 grams but less

than 150 grams of crack cocaine, which under United States Sentencing Guideline Manual1

(“U.S.S.G.”) § 2D1.1 yielded a base offense level of 32. No adjustments were made to that

level. Considering Tolliver’s criminal history category of I, this yielded a sentencing range of

121 to 151 months in prison. However, because the government had filed an enhancement

pursuant to 21 U.S.C. § 851, Tolliver’s statutory minimum sentence was 20 years. See 21 U.S.C.

§ 841(b)(1)(A). Consequently, pursuant to U.S.S.G. § 5G1.1(b), his guideline sentence became

240 months. Tolliver now asks the Court to apply recent changes to U.S.S.G. § 2D1.1 to lower

his sentence.

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

994(o).” In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and

must ensure that any reduction “is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence



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        Unless otherwise noted, the references to the guidelines in this order are to the 2004
United States Sentencing Guidelines Manual.

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reduction under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must

have lowered the applicable guideline sentencing range, and (2) the reduction must be consistent

with applicable policy statements issued by the Sentencing Commission. If the defendant cannot

satisfy the first criterion, the Court has no subject matter jurisdiction to consider the reduction

request. United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied sub nom McKnight v. United States, No. 08-

9042, 77 U.S.L.W. 3558 (U.S. Apr. 6, 2009).

       Tolliver cannot satisfy the first criterion because he was not “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711

amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense

levels associated with various amounts of crack cocaine. The Sentencing Commission amended

U.S.S.G. § 2D1.1(c) intending to alter the disparity in sentences involving crack cocaine and

sentences involving powder cocaine. The amendments did not, however, reduce the sentencing

range of defendants whose minimum guideline sentence was determined under U.S.S.G. §

5G1.1(b) based on a statutory minimum rather than under U.S.S.G. § 2D1.1 based on relevant

conduct amounts. See Forman, 553 F.3d at 588 (“Nothing in § 3582(c)(2) permits a court to

reduce a sentence below the mandatory minimum.”). Because Tolliver was sentenced based on

his statutory minimum sentence in accordance with U.S.S.G. § 5G1.1(b), not his base offense

level set forth in U.S.S.G. § 2D1.1, under the old and amended guidelines, his guideline sentence

would have been 240 months. Thus, the amendments did not lower his guideline range, and he

cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining a sentence reduction.


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       Because Tolliver cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for

obtaining a sentence reduction, the Court does not have subject matter jurisdiction to consider

his reduction request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-38. The Court

therefore GRANTS counsel’s motion to withdraw (Doc. 230) and DISMISSES Tolliver’s

motion for a sentence reduction (Doc. 213) for lack of jurisdiction. The Court further DENIES

Tolliver’s motion for leave to amend his reduction motion (Doc. 232). The Clerk is

DIRECTED to mail a copy of this order to Defendant John Tolliver, #06270-025, FCI- Forrest

City Low, P.O. Box 9000, Forrest City, AR 72336.

IT IS SO ORDERED.
Dated this 20th day of May, 2009.


                                             s/ J. Phil Gilbert
                                             J. PHIL GILBERT
                                             U.S. DISTRICT JUDGE




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